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                   Exhibit C
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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

 In re Terrorist Attacks on September 11, 2001 03 MDL 1570 (GBD) (FM)
                                               ECF Case


This document relates to:

Ashton et al. v. al Qaeda Islamic Army, et al., 02-CV-6977 (GBD)(FM)

                 FPROPOSED1 FINAL ORDER OF SUMMARY JUDGMENT

         Upon consideration of the evidence and arguments submitted by the Ashton wrongful

death Plaintiffs in the above-captioned action and the Judgment by Default Against the Islamic

Republic of Iran entered on 08/26/2015, together with the entire record in this case, it is hereby;

         ORDERED that final judgment is entered on behalf of those Plaintiffs in Ashton et al. v,

Al Qaeda Islamic Army et al., 02-CV-6977 (GBD) (FM) identified in the attached Exhibit A

against the Islamic Republic of Iran (the "Ashton V Plaintiffs"); and it is

         ORDERED that the Ashton V Plaintiffs identified in the attached Exhibit A are awarded

solatium damages as set forth in Exhibit A; and it is

         ORDERED that prejudgment interest is awarded to be calculated at a rate of 4.96% per

annum; all interest compounded annually over the same period; and it is

         ORDERED that the Ashton Plaintiffs not appearing on Exhibit A and who were not

previously awarded damages may submit in later stages applications for solatium and/or

economic damages awards that will be approved on the same basis as currently approved for

those Plaintiffs appearing on Exhibit A or in prior filings.


Dated:     New York, New York
                             2018
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                              SO ORDERED:



                              GEORGE B. DANIELS
                              UNITED STATES DISTRICT JUDGE
